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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

EDWARD TYLER KITCHENS,     )
                           )
        Plaintiff,         )
                           )
        v.                 )                 CASE NO. 2:21-CV-635-WHA-CSC
                           )
AUTAUGA COUNTY METRO JAIL, )
et al.,                    )
                           )
        Defendants.        )

                                        ORDER

        On September 29, 2021, the Magistrate Judge filed a Recommendation to which no

timely objection has been filed. Doc. 3. There being no objection filed to the

Recommendation, and after an independent review of the file, the Court concludes the

Magistrate Judge’s Recommendation should be adopted. Accordingly, it is ORDERED

that:

        1. The Recommendation of the Magistrate Judge (Doc. 3) is ADOPTED.

        2. Plaintiff’s claims against the Autauga Metro Jail are DISMISSED with prejudice

prior to service of process under 28 U.S.C. § 1915A(b)(1).

        3. The Autauga Metro is TERMINATED as a party to this action prior to service

of process.

        The Clerk of the Court is DIRECTED to enter this document on the civil docket as

a final judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure as to

Defendant Autauga Metro Jail.
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      This case is not closed and is referred to the United States Magistrate Judge for

further proceedings.

      Done, this 8th day of November 2021.



                                 /s/ W. Harold Albritton
                                 W. HAROLD ALBRITTON
                                 SENIOR UNITED STATES DISTRICT JUDGE




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